     6:12-cv-00452-RAW Document 2 Filed in ED/OK on 11/02/12 Page 1 of 3




                     IN THE UNITED STATES DISTRICT COURT
                    FOR THE EASTERN DISTRICT OF OKLAHOMA

(1) GERALD BURCH, an individual,                  )
                                                  )
       Plaintiff,                                 )
                                                  )
v.                                                )     Case No.     CIV 12-4 52 -FHS
                                                  )
(1) METROPOLITAN PROPERTY AND                     )
CASUALTY INSURANCE COMPANY,                       )
a foreign corporation                             )
                                                  )
       Defendant.                                 )

                               NOTICE OF REMOVAL

       COMES NOW the Defendant Metropolitan Property and Casualty Insurance

Company, and pursuant to 28 U.S.C. § 1446 and Fed. R. Civ. P. 81(c) states:

       1.     The above entitled suit was filed in the District Court of Wagoner County,

State of Oklahoma as Case No. CJ-2012-475 on October 4, 2012. Defendant Metropolitan

Property and Casualty Insurance Company was served through the office of the Oklahoma

Insurance Commissioner on October 11, 2012. Receipt of service was the first notice

Metropolitan Property and Casualty Insurance Company received of this suit. In accordance

with 28 U.S.C. §1446(a) and LCvR 81.2, a copy of the docket sheet and a copy of all

documents filed or served in the Wagoner County case are attached to this Notice as Exhibit

"1" through "4".

      2.      Plaintiff Gerald Burch is a citizen and resident of Oklahoma.

      3.      Defendant Metropolitan Property and Casualty Insurance Company is licensed

                                            -1-
     6:12-cv-00452-RAW Document 2 Filed in ED/OK on 11/02/12 Page 2 of 3




to do business in the State of Oklahoma, incorporated in the State of Rhode Island and its

principal place ofbusiness is in Rhode Island; therefore, Metropolitan Property and Casualty

Insurance Company is deemed to be a Rhode Island citizen for purposes of diversity.

       4.      Jurisdiction is conferred upon this Court pursuant to 28 U.S.C. § 1332.

Removal is proper pursuant to 28 U.S.C. §1441, et seq.

       5.      In this case, Plaintiffbrings causes of action for breach of an insurance contract

and bad faith against Metropolitan Property and Casualty Insurance Company, arising from

a motor vehicle accident.

       6.      The Petition alleges that Plaintiff seeks damages "in an amount in excess of

$75,000.00 in actual damages." Thus, the amount in controversy exceeds the amount which

is required for diversity jurisdiction.

       7.      Pursuant to 28 U.S.C. § 1332(a)(l ), this Court has jurisdiction because of the

complete diversity of citizenship of the parties and there is a sufficient amount in

controversy.

       8.      Pursuant to 28 U.S.C. § 1446(a), Defendant acknowledges that this Notice of

Removal is signed and filed pursuant to Rule 11 of the Federal Rules of Civil Procedure.

       WHEREFORE, Defendant, Metropolitan Property and Casualty Insurance Company

requests this Notice of Removal be accepted by this Court and that the lawsuit proceed as an

action properly removed to this Court's jurisdiction.




                                              -2-
     6:12-cv-00452-RAW Document 2 Filed in ED/OK on 11/02/12 Page 3 of 3




                                          Respectfully submitted,

                                          WILSON, CAIN & ACQUAVIVA
                                          300 Northwest 13th Street, Suite 100
                                          Oklahoma City, Oklahoma 73103
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                                             )
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                                          Barbara K. Buratti, OBA #12231
                                          Attorneys for Defendant
                                          Metropolitan Property and Casualty Insurance
                                          Company

                             CERTIFICATE OF SERVICE

       _I hereby certify that on November 1, 20 12, I electronically transmitted the attached
document to the Clerk of the Court using the ECF System for filing. Based on the records
currently on file, the Clerk of Court will transmit a Notice of Electronic Filing to the
following ECF registrants:


       _x_   I hereby certify that on November 1, 2012, I served the attached document by
Certified, Return Receipt Requested on the following, who are not registered participants of
the ECF System:

Adam Scott Weintraub, OBA #13209
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                                             -3-
